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  NOT FOR PUBLICATION


                            UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF NEW JERSEY


   IN RE INSULIN PRICING LITIGATION
                                                         Case No. 3:17-cv-699 (BRM) (LHG)

                                                                      OPINION



  MARTINOTTI, DISTRICT JUDGE

          Before the Court is a Partial Motion to Dismiss filed by Defendant Novo Nordisk, Inc.

  (“Novo Nordisk”), Defendant Sanofi-Aventis U.S. LCC (“Sanofi”), and Defendant Eli Lilly and

  Company (“Eli Lilly”) (collectively, “Defendants”), seeking to dismiss the putative plaintiffs’

  (“Plaintiffs”) Second Amended Class Action Complaint (“Second Amended Complaint”). (ECF

  No. 263.) Plaintiffs filed an Opposition to Defendants’ Partial Motion to Dismiss (ECF No. 269),

  and Defendants filed a Reply Brief to Plaintiff’s Opposition (ECF No. 273). For the reasons set

  forth herein, Defendants’ Partial Motion to Dismiss is GRANTED IN PART and DENIED IN

  PART.
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  I.      BACKGROUND1

          A.      Factual Background2

          Plaintiffs are 108 individuals who filed the Second Amended Complaint on behalf of

  themselves and a proposed nationwide class of analog insulin consumers. (ECF No. 255

  ¶¶ 19–235.) Plaintiffs bring this action on behalf of themselves and all others similarly situated

  under Federal Rule of Civil Procedure 23(a) and 23(b)(3). (ECF No. 255 ¶ 366.) The Plaintiffs

  define their class as,

                  All individual persons in the United States and its territories who
                  paid any portion of the purchase price for a prescription of Apidra,
                  Basaglar, Fiasp, Humalog, Lantus, Levemir, Novolog, Tresiba,
                  and/or Toujeo at a price calculated by reference to a benchmark rice,
                  AWP (Average Wholesale Price)3, or WAC (Wholesale Acquisition
                  Price) for purposes other than resale.

  (Id.) Specifically, the class includes uninsured consumers, consumers in high-deductible health

  plans, consumers who reach the Medicare Part D donut hole, and consumers with high coinsurance

  rates. (ECF No. 255 ¶ 369.) The Plaintiffs request this Court toll the class period to the “earliest

  date of the Defendant Drug Manufacturers’ initiation of the scheme described herein.” (ECF

  No. 255 ¶ 367.)



  1
    The factual and procedural backgrounds of this matter are well known to the parties and were
  previously recounted by the Court in its Opinion granting in part and denying in part Defendants’
  Motion to Dismiss the First Amended Complaint. (ECF No. 252.) The Court, therefore, only
  includes the facts and procedural background relevant to this Motion.
  2
   For the purpose of this motion to dismiss, the Court accepts the factual allegations in the Second
  Amended Complaint as true and draws all inferences in the light most favorable to the plaintiff.
  See Phillips v. City of Allegheny, 515 F.3d 224, 228 (3d Cir. 2008). Furthermore, the Court also
  considers any “document integral to or explicitly relied upon in the complaint.” In re Burlington
  Coat Factory Sec. Litig., 114 F.3d 1410, 1426 (3d Cir. 1997) (quoting Shaw v. Dig. Equip. Corp.,
  82 F.3d 1194, 1220 (1st Cir. 1996)).
  3
   The Plaintiffs frequently use the terms “benchmark price” and “sticker price” to refer to the AWP.
  (See, e.g., ECF No. 255 ¶¶ 1, 2, 252.)
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         Defendants are pharmaceutical companies headquartered in the United States. (ECF

  No. 255 ¶¶ 236–238.) Defendants research, develop, and manufacture prescription medications.

  (Id.) Defendant Eli Lilly manufactures Humalog and Basaglar; Defendant Novo Nordisk

  manufactures Fiasp, Novolog, Levemir, and Tresiba; and Defendant Sanofi-Aventis manufactures

  Apidra, Lantus, and Toujeo. (Id.)

         B.      Procedural History

         On March 29, 2018, Plaintiffs filed the First Amended Class Action Complaint (“First

  Amended Complaint”) against Defendants (ECF No. 131) and on May 14, 2018, Defendants

  moved to dismiss. (ECF No. 158). The Court held oral argument on January 22, 2019. (ECF

  No. 247.) On February 15, 2019, the Court issued an Opinion granting in part and denying in part

  Defendants’ Motion to Dismiss the First Amended Complaint. (ECF No. 252.) On March 18, 2019,

  Plaintiffs filed the Second Amended Complaint, alleging forty-nine counts against Defendants.

  (ECF No. 255.) On May 17, 2019, Defendants filed a Partial Motion to Dismiss. (ECF No. 263.)

  II.    LEGAL STANDARDS

         A.      Rule 12(b)(6)

         In deciding a motion to dismiss pursuant to Federal Rule of Civil Procedure 12(b)(6), a

  district court is “required to accept as true all factual allegations in the complaint and draw all

  inferences in the facts alleged in the light most favorable to the [plaintiff].” Phillips v. Cty. of

  Allegheny, 515 F.3d 224, 228 (3d Cir. 2008). “[A] complaint attacked by a Rule 12(b)(6) motion

  to dismiss does not need detailed factual allegations.” Bell Atlantic Corp. v. Twombly, 550 U.S.

  544, 555 (2007) (citations omitted). However, the plaintiff’s “obligation to provide the ‘grounds’

  of his ‘entitle[ment] to relief’ requires more than labels and conclusions, and a formulaic recitation

  of the elements of a cause of action.” Id. (citing Papasan v. Allain, 478 U.S. 265, 286 (1986)). A



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  court is “not bound to accept as true a legal conclusion couched as a factual allegation.” Papasan,

  478 U.S. at 286. Instead, assuming the factual allegations in the complaint are true, those “[f]actual

  allegations must be enough to raise a right to relief above the speculative level.” Twombly, 550

  U.S. at 555.

         “To survive a motion to dismiss, a complaint must contain sufficient factual matter,

  accepted as true, to ‘state a claim for relief that is plausible on its face.’” Ashcroft v. Iqbal, 556

  U.S. 662, 678 (2009) (citing Twombly, 550 U.S. at 570). “A claim has facial plausibility when the

  pleaded factual content allows the court to draw the reasonable inference that the defendant is

  liable for misconduct alleged.” Id. This “plausibility standard” requires the complaint allege “more

  than a sheer possibility that a defendant has acted unlawfully,” but it “is not akin to a probability

  requirement.’” Id. (quoting Twombly, 550 U.S. at 556). “Detailed factual allegations” are not

  required, but “more than an unadorned, the defendant-harmed-me accusation” must be pled; it

  must include “factual enhancements” and not just conclusory statements or a recitation of the

  elements of a cause of action. Id. (citing Twombly, 550 U.S. at 555, 557).

         “Determining whether a complaint states a plausible claim for relief [is] . . . a context-

  specific task that requires the reviewing court to draw on its judicial experience and common

  sense.” Iqbal, 556 U.S. at 679. “[W]here the well-pleaded facts do not permit the court to infer

  more than the mere possibility of misconduct, the complaint has alleged—but it has not

  ‘show[n]’—‘that the pleader is entitled to relief.’” Id. at 679 (quoting Fed. R. Civ. P. 8(a)(2)).

  However, courts are “not compelled to accept ‘unsupported conclusions and unwarranted

  inferences,’” Baraka v. McGreevey, 481 F.3d 187, 195 (3d Cir. 2007) (quoting Schuylkill Energy

  Res. Inc. v. Pa. Power & Light Co., 113 F.3d 405, 417 (3d Cir. 1997)), nor “a legal conclusion

  couched as a factual allegation.” Papasan, 478 U.S. at 286.



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         While, as a general rule, the court may not consider anything beyond the four corners of

  the complaint on a motion to dismiss pursuant to Rule 12(b)(6), the Third Circuit has held that “a

  court may consider certain narrowly defined types of material without converting the motion to

  dismiss [to one for summary judgment pursuant to Rule 56].” In re Rockefeller Ctr. Props. Sec.

  Litig., 184 F.3d 280, 287 (3d Cir. 1999). Specifically, courts may consider any “document integral

  to or explicitly relied upon in the complaint.” In re Burlington Coat Factory Secs. Litig., 114 F.3d

  at 1426 (quoting Shaw, 82 F.3d at 1220).

         B.      Rule 9(b)

         Pursuant to Federal Rule of Civil Procedure 9(b), when alleging fraud, “a party must state

  with particularity the circumstances constituting fraud or mistake, although intent, knowledge, and

  other conditions of a person’s mind may be alleged generally.” In re Lipitor Antitrust Litig., 868

  F.3d 231, 249 (3d Cir. 2017) (citations omitted); see also U.S. ex rel. Moore & Co., P.A. v. Majestic

  Blue Fisheries, LLC, 812 F.3d 294, 307 (3d Cir. 2016) (holding that a “plaintiff alleging fraud

  must . . . support its allegations with all of the essential factual background that would accompany

  the first paragraph of any newspaper story – that is, the who, what, when, where and how of the

  events at issue”) (citations omitted). Accordingly, “a party must plead [its] claim with enough

  particularity to place defendants on notice of the ‘precise misconduct with which they are

  charged.’” United States ex rel. Petras v. Simparel, Inc., 857 F.3d 497, 502 (3d Cir. 2017) (quoting

  Lum v. Bank of Am., 361 F.3d 217, 223-24 (3d Cir. 2004), abrogated on other grounds by Bell Atl.

  Corp. v. Twombly, 550 U.S. 544, 557 (2007)).




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  III.     DECISION

           Defendants’ Partial Motion to Dismiss seeks to dismiss Counts One and Two of the Second

  Amended Complaint (the “RICO Claims”)4 (ECF No. 263 at 4–10), all claims relating to Tresiba,

  Fiasp, and Basaglar (the “New Insulins” and the “New Insulin Claims”)5 (id. at 10–12), and ten

  separate state law claims (the “State Law Claims”)6 (id. at 13–23). The Court addresses each of

  the parties’ arguments in turn.

           A.      The RICO Claims

           In its February 15, 2019 Opinion, the Court dismissed Plaintiffs’ RICO claims, finding that

  “[a]lthough Plaintiffs have adequately pled the various elements of a RICO claim,” they were

  indirect purchasers and, therefore, they “lack[ed] standing to maintain [the] action.” (ECF No. 252

  at 25.) Plaintiffs concede they “have not amended their allegations to claim that the [Plaintiffs]

  purchase their analog insulins directly from [Defendants].” (ECF No. 255 at 141 n.36) Plaintiffs,

  nonetheless, seek an injunction “to prevent [Defendants] from reporting benchmark prices that do

  not approximate their true net prices.” (Id. at 142.)

           Defendants contend Plaintiffs’ RICO claim for an injunction should be dismissed because

  RICO does not grant private Plaintiffs a right of action for injunctive relief. (ECF No. 263-1 at 5.)

  The Third Circuit has not directly addressed whether RICO allows for a private right of equitable

  relief. Defendants point to several cases within this district, however, that have held RICO does



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      Plaintiffs bring the RICO Claims pursuant to 18 U.S.C. §§ 1961, et seq.
  5
    Tresibia and Fiasp are manufactured by Novo Nordisk; Basaglar is manufactured by Eli Lilly.
  (ECF No. 255 ¶¶ 308, 309.)
  6
    The State Law Claims include, Count Six (Arizona), Count Nine (California), Count Ten
  (Colorado), Count Fifteen (Georgia), Count Twenty-One (Louisiana), Count Twenty-Seven
  (Minnesota), Count Twenty-Eight (Mississippi), Count Forty-Five (Utah), Count Forty-Seven
  (Washington), and Count Forty-Eight (West Virginia).
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  not establish a private right of equitable relief. See Curley v. Cumberland Farms Dairy, Inc., 728

  F. Supp. 1123, 1137 (D.N.J. 1989); see also Futterknecht v. Thurber, 2015 WL 4603010, at *4

  (D.N.J. July 30, 2015). These cases came to this conclusion by analyzing both the legislative

  history of RICO and the Department of Justice’s Manual. See, e.g. Futterknecht, 2015 WL

  4603010, at *4.

         Plaintiffs argue this Court should instead look to opinions issued by the Second and

  Seventh Circuits,7 wherein the courts found § 1964 of the RICO Act authorizes private plaintiffs

  to seek final injunctive relief. (ECF No. 269 at 1.) Plaintiffs, however, are unable to point to any

  cases within this Circuit or District that has adopted the views of the Donziger or Scheidler courts.8

  As such, this Court declines to stray from the weight of persuasive authority and holds that a private

  party may not seek equitable relief under RICO. Accordingly, Defendants’ Partial Motion to

  Dismiss Plaintiffs’ request for injunctive relief under RICO is GRANTED.

         B.      The New Insulin Claims

         In their Second Amended Complaint, Plaintiffs, for the first time, include claims relating

  to the New Insulins. (Compare ECF No. 131 with ECF No. 255.) Defendants contend Plaintiffs

  include “no factual allegations connecting [the New Insulins] to the purported ‘scheme’” and as

  such, the New Insulin Claims should be dismissed. (ECF No. 263-1 at 11.) The crux of Defendants’



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   Chevron Corp. v. Donziger, 833 F.3d 74, 139 (2d Cir. 2016); Nat’l Org. for Women v. Scheidler,
  267 F.3d 687, 698 (7th Cir. 2001), rev’d on other grounds, 537 U.S. 393 (2003).
  8
    Although not cited by either party, at least two courts in this District have considered whether
  RICO authorizes a private plaintiff to seek equitable relief. First, in Adamo v. Jones, the court held
  that “is not clear whether injunctive or equitable relief is available [to a private plaintiff].”
  No. 15-1073, 2016 WL 356031, at *12 (D.N.J. Jan. 29, 2016). Additionally, in a footnote in Kaul
  v. Christie, the court stated that “for the purposes of argument going forward, I assume that a
  plaintiff may obtain injunctive relief under RICO.” No. 16-2364, 2019 WL 943656, at *28 n.40
  (D.N.J. Feb. 24, 2019). However, neither of these cases explicitly held a private party may obtain
  equitable relief under RICO.
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  argument is that the New Insulins have only recently been introduced to the market and, therefore,

  “have prices that have remained relatively constant.” (Id. at 12.) Defendants point to several

  figures, including in the Second Amended Complaint, that show Fiasp and Basaglar have only

  undergone a single price increase since their introduction, while Tresiba has undergone two. (Id.)

  Defendants argue this precludes Plaintiffs from arguing “‘[D]efendants have engaged in an arms

  race of false benchmark price increases’ in a ‘lock-step’ manner,” as they do with regards to the

  other insulin products. (Id. at 11) (quoting ECF No. 255 ¶¶ 8, 9, 321.)

         Conversely, Plaintiffs contend they have alleged “a spread between list and net price[s]

  for [the New Insulins].” (ECF No. 269 at 16.) Moreover, the length of time the New Insulins have

  been on the market bears no relationship to whether their prices are the result of the same price-

  fixing scheme Plaintiffs allege regarding the other insulins. (Id. at 15–16.)

         The Court finds Defendants’ arguments unconvincing. On a motion to dismiss, “[t]he

  defendant bears the burden of showing that no claim has been presented.” Hedges v. United States,

  404 F.3d 744, 750 (3d Cir. 2005). While it is true, as Defendants contend, that Plaintiffs admit

  they “do not have access to [the New Insulins’] net prices,” this is not fatal to their claim. The

  Second Amended Complaint includes a detailed depiction of the alleged fraudulent scheme as it

  relates to the other insulin products. (See generally ECF No. 255.) Plaintiffs allege Defendants

  have included the New Insulins in the same scheme. (Id.) At this stage of the litigation, the Court

  finds Defendants have failed to meet their burden of showing no claim has been presented.

  Accordingly, Defendants’ Partial Motion to Dismiss the New Insulin Claims is DENIED.

         C.       The State Law Claims

                i.       Arizona

         Plaintiffs bring Count Six of the Second Amended Complaint, against all Defendants,



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  pursuant to The Arizona Consumer Fraud Act (“ACFA”), ARIZ. REV. STAT. ANN. §§ 44-1521, et

  seq. (2019) (ECF No. 255 ¶¶ 509–518.) The ACFA prohibits, inter alia:

                 The act, use or employment by any person of any deception,
                 deceptive or unfair act or practice, fraud, false pretense, false
                 promise, misrepresentation, or concealment, suppression or
                 omission of any material fact with intent that others rely on such
                 concealment, suppression or omission, in connection with the sale
                 or advertisement of any merchandise whether or not any person has
                 in fact been misled, deceived or damaged thereby.

  ARIZ. REV. STAT. ANN. § 44-1522.

         Defendants argue that Plaintiffs’ ACFA claim must be dismissed because, as indirect

  purchasers, Plaintiffs lack standing. (ECF No. 263-1 at 13.) Under the ACFA, a “subsequent

  purchaser is not within the class of consumers intended to be protected by the implied private cause

  of action.” Sullivan v. Pulte Home Corp., 290 P.3d 446, 454 (Ariz. Ct. App. 2012), vacated in part

  on other grounds, 306 P.3d 1 (Ariz. 2013). To further bolster their argument, Defendants cite to

  this Court’s decision in MSP Recovery Claims, Series, LLC v. Sanofi Aventis U.S. LLC, wherein

  the Court dismissed similar claims because the plaintiffs were indirect purchasers. No. 18-2211,

  2019 WL 1418129, at *18 (D.N.J. Mar. 29, 2019).

         Plaintiffs do not dispute this Court previously held indirect purchasers are barred from

  bringing a claim under ACFA, but imply that the Court erred by not considering the Arizona

  Supreme Court’s decision in Watts v. Medicis Pharmaceutical Corp., 365 P.3d 944, 947 (Ariz.

  2016). In Watts, a plaintiff brought a complaint, pursuant to ACFA, against a drug manufacturer

  alleging consumer fraud and product liability. The Watts plaintiff “sought medical treatment for

  acne and received a prescription for Solodyn.” Id. at 947. Along with her prescription, plaintiff

  received documentation, produced by the defendant drug manufacturer, that included drug safety

  information. Id. Among the information was the warning that “the safety of using [Solodyn] longer



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  than 12 weeks has not been studied and is not known.” Id. Plaintiff was ultimately diagnosed with

  drug-induced lupus and hepatitis after receiving a subsequent prescription for Solodyn and taking

  it as directed for a period of 20 weeks. Id. at 947–48. The Arizona Supreme Court reversed the

  dismissal of plaintiff’s ACFA claim finding that ACFA “the statute does not expressly require a

  direct merchant-consumer transaction.” Id. at 953 (emphasis added). The court further held that to

  state a claim for consumer fraud under ACFA, “a plaintiff must show (1) a false promise or

  misrepresentation made in connection with the sale or advertisement of “merchandise,” and (2)

  consequent and proximate injury resulting from the misrepresentation.” Id. (citing Kuehn v.

  Stanley, 208 Ariz. 124, 129 ¶ 16, 91 P.3d 346, 351 (App.2004)).

         Watts, however, is distinguishable from the present case. In Watts, plaintiff’s allegations

  of consumer fraud related to “misrepresentations and omi[ssion of] material facts” made by the

  defendant drug manufacturer directly to the plaintiff, in the form from the documentation provided

  with Solodyn. Id. at 948, 953.9 Here, as this Court previously articulated, “Plaintiffs allege their

  damages stem from artificially inflated AWPs paid by wholesalers and pharmacies before the

  consumers make their purchases from those intermediaries.” (ECF No. 252 at 19 (emphasis

  added).) The Court finds the connection between the alleged misrepresentations of Defendants and

  Plaintiffs in the instant case too attenuated to comport with the holding of Watts. The Court,

  therefore, does not find Plaintiffs’ arguments persuasive and reiterates the rationale it articulated

  in MSP Recovery Claims. Accordingly, Defendants’ Partial Motion to Dismiss Count Six

  (Arizona) of the Second Amended Complaint is GRANTED.



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    “[Plaintiff] alleged an actionable claim under the [A]CFA. She alleged that [Defendant]
  affirmatively misrepresented Solodyn by stating that ‘[t]he safety of using [Solodyn] longer than
  12 weeks has not been studied and is not known,’ even though it knew (as [Defendant’s] full
  prescribing informational material states) that taking the drug for longer than twelve weeks can
  cause drug-induced lupus.” Watts, 365 P.3d at 953.
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               ii.       California

         Plaintiffs bring Count Nine of the Second Amended Complaint against all Defendants,

  pursuant to the California Unfair Competition Law (the “California UCL”), CAL. BUS. & PROF.

  CODE § 17200, et seq. (ECF No. 255 ¶¶ 537–47.) The California UCL prohibits the use of “any

  unlawful, unfair or fraudulent business act or practice and unfair, deceptive, untrue or misleading

  advertising.” Id. § 17200.

         Defendants contend Plaintiffs’ California UCL claim should be dismissed to the extent

  they seek “restitution and disgorgement,” because disgorgement is not an authorized remedy under

  the California UCL and Plaintiffs have pled no facts to support that they are entitled to restitution.

  (ECF No. 263-1 at 13–14)

         As to disgorgement, the California Supreme Court has held that it is “not an authorized

  remedy” under the California UCL. Korea Supply Co. v. Lockheed Martin Corp., 63 P.3d 937,

  941, 942 (Cal. 2003). Plaintiffs appear to concede this point as they do not address Defendants’

  arguments regarding disgorgement in their Opposition Brief. (See generally ECF No. 269.)

         As to restitution, Defendants argue that the California UCL only permits a court to order a

  “defendant to return money obtained through an unfair business practice to those persons in

  interest from whom the property was taken.” Korea Supply Co., 63 P.3d at 944 (emphasis added).

  Defendants contend because Plaintiffs do not allege Defendants received money directly from

  them, they cannot bring suit under the California UCL. (ECF No. 263-1 at 14.)

         Restitution is measured “by the defendant’s gain, whereas damages measure[] the

  plaintiff’s loss.” Nat’l Rural Telecommunications Co-op. v. DIRECTV, Inc., 319 F. Supp. 2d 1059,

  1081 (C.D. Cal. 2003), on reconsideration in part (June 5, 2003) (internal quotations omitted).

  “[I]n appropriate circumstances, the plaintiff in a [California UCL] claim may obtain restitution



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  from a defendant with whom the plaintiff did not deal directly.” Shersher v. Superior Court, 154

  Cal. App. 4th 1491, 1498 (Cal. Ct. App. 2007). The California UCL requires that “the plaintiff

  must once have had an ownership interest in the money or property acquired by the defendant

  through unlawful means.” Id. at 1500.

         In Clayworth v. Pfizer, Inc., the California Supreme Court found retail pharmacies could

  sustain an action under the California UCL against defendant drug manufacturers for restitution

  despite only having “indirect business dealings with [the m]anufacturers.” 233 P.3d 1066, 1087

  (Cal. 2010) (citing Shersher, 154 Cal. App. 4th at 1499–1500). The court noted that “while the

  voters clearly intended to restrict UCL standing, they just as plainly preserved standing for those

  who had had business dealings with a defendant and had lost money or property as a result of the

  defendant’s unfair business practices.” Id. (citation omitted). The court found that the plaintiff

  pharmacies “paid more than they otherwise would have because of a price-fixing conspiracy in

  violation of state law” and, therefore, had established standing under the California UCL. Id.

         Plaintiffs urge this Court to adopt the rationale articulated in Clayworth to this dispute.

  (ECF No. 269 at 21–22.) The Court, however, declines to do so. Here, the connection between

  Plaintiffs and Defendant drug manufacturers is a step beyond the relationship recognized in

  Clayworth and too attenuated to sustain a cause of action for restitution under the California UCL.

  Specifically, while the Clayworth court found plaintiffs had standing to pursue their claims, the

  crux of their decision rested upon the “business dealings” between the parties. 233 P.3d at 1087.

  Here, no such business relationship exists. Accordingly, Defendants’ Partial Motion to Dismiss

  Count Nine (California) of the Second Amended Complaint to the extent Plaintiffs seek

  disgorgement and restitution is GRANTED.




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                 iii.       Colorado and Utah

            Plaintiffs bring Count Ten of the Second Amended Complaint pursuant to the Colorado

  Consumer Protection Act (“CCPA”), COLO. REV. STAT. §§ 6-1-101, et seq. and Count Forty-Five

  pursuant to The Utah Consumer Sale Practices Act (“UCSPA”), UTAH CODE ANN. §§ 13-11-1, et

  seq., against all Defendants. (ECF No. 255 ¶¶ 548–56, 836–42.)

            Defendants contend Plaintiffs’ CCPA claim “should be dismissed to the extent that

  [P]laintiffs seek monetary damages” because the CCPA does not permit their recovery in class

  action claims. (ECF No. 263-1 at 15.) Defendants contend Plaintiffs’ UCSPA claim should be

  dismissed for the same reason. (Id. at 20.)

            Plaintiffs contend Defendants’ arguments should be rejected because: (1) “whether a state-

  law damages bar applies in federal court should be addressed at the class certification stage” (id.

  at 24); (2) Defendants’ fail to analyze Shady Grove10 in their Moving Brief (id. at 25); and (3)

  “[D]efendants’ are incorrect on the merits” (Id. at 26).

            As to whether this issue is best left to the class certification stage, Plaintiffs first rely on a

  case from the Northern District of California, wherein the court held that it was. In re Volkswagen

  “Clean Diesel” Mktg., Sales Practices, & Products Liab. Lit., 349 F. Supp. 3d 881, 920 (N.D. Cal.

  2018) (“[Defendant’s] arguments focus on whether Plaintiffs can pursue class claims under certain

  state consumer laws, not on whether the claims themselves are well pled. Only the second question

  is at issue in a Rule 12(b)(6) motion to dismiss. The Court will therefore wait until the class

  certification stage to address whether Mississippi’s and [the UCSPA’s] class action limits apply.”).

  To further bolster their argument, Plaintiffs cite to a series of district court decisions holding the

  same. (See ECF No. 269 at 25 n.25.)



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       Shady Grove Orthopedic Assocs., P.A. v. Allstate Ins. Co., 559 U.S. 393, 398 (2010).
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         Defendants argue the Court should disregard those decisions and instead follow two

  decisions issued in the District of New Jersey where courts dismissed, at the pleading stage, CCPA

  and UCSPA claims to the extent they sought monetary damages. See, e.g., In re Elk Cross Timbers

  Decking Marketing, 2015 WL 6467730, at *17 (D.N.J. Oct. 26, 2015) (dismissing plaintiffs’

  CCPA claims); In re Lipitor Antitrust Litig., 336 F. Supp. 3d 395, 416–17 (D.N.J. 2018)

  (dismissing plaintiffs’ UCSPA claims). Of these two cases, only In re Lipitor discussed the

  application of Shady Grove to the court’s analysis. In re Lipitor Antitrust Litig., 336 F. Supp. 3d

  at 414 (finding Shady Grove did not preclude dismissal of UCSPA and similar state law claims at

  the pleading stage and thus dismissing those claims with leave to amend). While the Court finds

  the In re Lipitor court’s analysis thorough and well-reasoned, it does not find it dispositive and

  deems these issues better suited for disposition later in the litigation. Accordingly, Defendants’

  Partial Motion to Dismiss Counts Ten (Colorado) and Forty-Five (Utah) of the Second Amended

  Complaint is DENIED.

              iv.        Georgia

         Plaintiffs bring Count Fifteen of the Second Amended Complaint, against all Defendants,

  pursuant to The Georgia Uniform Deceptive Trade Practices Act (“GDTPA”), GA. CODE ANN.

  §§ 10-1-370, et seq. (ECF No. 255 ¶¶ 593–98.) The GDTPA prohibits, inter alia, the “mak[ing of]

  false or misleading statements of fact concerning the reasons for, existence of, or amounts of price

  reductions.” GA. CODE ANN. § 10-1-372 (11). Defendants contend Plaintiffs’ GDTPA claim

  should be dismissed because “the alleged [deceptive] pricing ‘scheme’” is not actionable under the

  statute. (ECF No. 263-1 at 15.)

         Dismissal of a GDTPA claim is proper “in the absence of allegations that [defendant]

  presented [plaintiff] any price inducements to choose [the hospital] for medical care.” Cox v.



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  Athens Regional Medical Center, 631 S.E.2d 792, 798 (2006) (also holding that hospital having

  “[a] separate pricing scheme for uninsured patients [that] is the result of agreements with insurers”

  did not, by itself, violate the GDTPA); see also HLD Enterprises, Inc. v. Michelin N. Am., Inc.,

  No. 03-2558, 2004 WL 2095739, at *4 (N.D. Ga. June 29, 2004) (granting dismissal after finding

  plaintiffs had “failed to allege facts which, if proven, would show that the [d]efendant engaged in

  actionable ‘false and misleading statements of fact concerning the reasons for, existence of, or

  amounts of price reductions.’”).

          In response, Plaintiffs contend Defendants have “ignore[d] the Georgia Supreme Court’s

  rejection of Cox.” (ECF No. 269 at 27.) In Bowden v. The Medical Center, Inc., the plaintiff

  brought suit under the GDTPA, alleging her hospital bill was “grossly excessive and did not reflect

  the reasonable value in the community of her treatment.” 773 S.E.2d 692, 694 (Ga. 2015).

  Plaintiffs’ argue that, like the plaintiffs in Bowden, the prices they were charged by Defendants

  were “‘grossly’ inflated and ‘not reasonable.’” (ECF No. 269 at 28.)

          Plaintiffs’ argument, however, misstates the conclusions of the Bowden court and,

  moreover, Bowden is easily distinguishable from the present case. In Bowden, the court was not

  determining what types of claims were actionable under the UDTPA. Bowden, 773 S.E.2d at 693.

  Instead, they were considering “the validity and amount of a hospital lien for the reasonable

  charges for a patient’s care, [and whether] how much the hospital charged other patients, insured

  or uninsured, for the same type of care during the same time period is relevant for discovery

  purposes.” Id. (emphasis added). Bowden, furthermore, did not overrule Cox, it simply found it

  inapplicable to the dispute before the court. Id. at 698 (“[T]he Cox line of cases does not directly

  apply here, because those were summary judgment cases, not discovery cases, and none involved

  a challenge to a hospital lien.”).



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            Because Plaintiffs have failed to allege Defendants made false or misleading statements

  regarding price reductions to induce Plaintiffs to purchase insulins, the Court finds Plaintiffs have

  failed to state a claim under the GDTPA. Accordingly, Defendants’ Partial Motion to Dismiss

  Count Fifteen (Georgia) of the Second Amended Complaint is GRANTED.

                  v.       Louisiana

            Plaintiffs bring Count Twenty-One of the Second Amended Complaint, against all

  Defendants, pursuant to The Louisiana Unfair Trade Practices and Consumer Protection Law

  (“LUTPA”), LA. REV. STAT. § 51:1401, et seq. (ECF No. 255 ¶¶ 644–51.) Defendants contend

  Plaintiffs’ LUTPA claim should be dismissed in its entirety because Plaintiffs do not allege

  Defendants acted with the requisite purpose of harming the competition. (ECF No. 263-1 at 17.)

  Alternatively, Defendants argue Plaintiffs’ claim for injunctive relief fails because such relief is

  not available to private plaintiffs under the statue. (Id.)

            As an initial matter, the Court finds Plaintiffs’ claim for injunctive relief under LUTPA

  fails as a matter of law. “[T]he right to injunctive relief under LUTPA is available solely to the

  state through the Attorney General.” Hurricane Fence Co., Inc. v. Jensen Metal Prods., Inc., 119

  So. 3d 683, 688 (La. Ct. App. 2013); see La. Rev. Stat. § 51:1407.11

            The Court turns next to the merits of Plaintiffs’ remaining LUTPA claim. To recover under

  the LUTPA, a plaintiff must “prove some element of fraud, misrepresentation, deception or other

  unethical conduct.” IberiaBank v. Broussard, 907 F.3d 826, 839–40 (5th Cir. 2018) (quoting Tubos

  de Acero de Mexico, S.A. v. Am. Int’l Inv. Corp., 292 F.3d 471, 480 (5th Cir. 2002)). “What

  constitutes an unfair trade practice is determined by the courts on a case-by-case basis.” Id. The

  “‘defendant’s motivation’ is a critical factor—[defendant’s] ‘actions must have been taken with



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       Plaintiffs concede that “injunctive relief is not available under [LUTPA].” (ECF No. 269 at 18.)
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  the specific purpose of harming the competition.’” Id. at 839–40 (quoting Monroe v. McDaniel,

  207 So.3d 1172, 1180 (La. Ct. App. 2016)).

         In response, Plaintiffs point to Andretti Sports Marketing Louisiana, LLC v. Nola

  Motorsports Host Committee, Inc., where the court held “the statute does not provide that in order

  for there to be a violation under LUTPA there must be an intent to harm competition.” 147 F.

  Supp. 3d 537, 566 (E.D. La. 2015).

         While the Court agrees that a defendant’s motivation is undoubtedly a critical factor in a

  LUTPA analysis, a reading of the statute and a consideration of the relevant case law leaves the

  Court unconvinced, at this time, that it is a dispositive one. The Court, therefore, concludes

  Defendants have failed to meet their burden on a motion to dismiss. Accordingly, Defendants’

  Partial Motion to Dismiss Count Twenty-One (Louisiana) of the Second Amended Complaint is

  GRANTED to the extent Plaintiffs seek injunctive relief.

              vi.       Minnesota

         Plaintiffs bring Count Twenty-Seven of the Second Amended Complaint, against all

  Defendants, pursuant to the Minnesota Deceptive Trade Practices Act (“MDTPA”), MINN. STAT.

  ANN. §§ 325D.43–48, et seq. ECF No. 255 ¶¶ 691–696.) The MDTPA prohibits the use of

  deceptive trade practices, which the statue defines as occurring when an individual or entity

  “makes false or misleading statements of fact concerning the reasons for, existence of, or amounts

  of price reductions” of a consumer good. MINN. STAT. ANN. § 325D.44.

         Defendants contend Plaintiffs’ MDTPA claim should be dismissed to the extent Plaintiffs

  seek monetary damages because plaintiffs cannot recover monetary damages under the statute.

  (ECF No. 263-1 at 19.) Plaintiffs “acknowledge that they cannot be awarded damages for




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  violation[s] of the [MDTPA].” (ECF No. 269 at 19.)12 Therefore, Defendants’ Partial Motion to

  Dismiss Count Twenty-Seven (Minnesota) of the Second Amended Complaint is GRANTED to

  the extent Plaintiffs seek an award of monetary damages.13

             vii.       Mississippi

         Plaintiffs bring Count Twenty-Eight of the Second Amended Complaint, against all

  Defendants, pursuant to The Mississippi Consumer Protection Act (“MCPA”), MISS. CODE ANN.

  §§ 75-24-1, et seq. (ECF No. 255 ¶¶ 697–701.)

         Defendants contend Plaintiffs’ MCPA claim should be dismissed because Plaintiffs failed

  to comply with the statute’s pre-suit dispute resolution requirement. (ECF No. 263-1 at 19–20.)

  The MCPA requires a plaintiff bringing a private action to “have first made a reasonable attempt

  to resolve any claim through an informal dispute settlement program approved by the Attorney

  General.” MISS. CODE. ANN. § 75-24-15. Defendants argue that because Plaintiffs do not allege

  facts that indicate they sought to avail themselves of the pre-suit process, their MCPA claim must

  be dismissed. (ECF No. 263-1 at 20.)

         Plaintiffs advance a similar Shady Grove argument as described supra. In support of their

  claim that the MCPA’s pre-suit dispute resolution requirement is not dispositive, Plaintiffs point

  to two district court cases from Texas, where courts found Texas state-law mediation requirements




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     This Court previously held that the MDTPA “disallows the recovery of monetary damages.” See
  MSP Recovery Claims, Series, LLC v. Sanofi Aventis U.S. LLC, No. 18-2211, 2019 WL 1418129,
  at *19 (D.N.J. Mar. 29, 2019).
  13
    The MDTPA does permit injunctive relief and the recovery of attorneys’ fees. MSP Recovery
  Claims, Series, LLC, 2019 WL 1418129, at *19 (D.N.J. Mar. 29, 2019).


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  were inapplicable under Shady Grove.14 Plaintiffs’ argument is unconvincing. Unlike in defense

  of its CCPA and UCSPA claims, here Plaintiffs fail to cite to a single case, post-Shady Grove,

  wherein a court has held the plaintiffs do not need to comply with MCPA’s pre-suit dispute

  resolution requirement. (See generally ECF No. 269.)

         Despite drawing all inferences in favor of Plaintiffs, the Court finds they have failed to

  state a claim under MCPA. Accordingly, Defendants’ Partial Motion to Dismiss Count Twenty-

  Eight (Mississippi) of the Second Amended Complaint is GRANTED.

             viii.       Washington

         Plaintiffs bring Count Forty-Seven of the Second Amended Complaint, against all

  Defendants, pursuant to The Washington Consumer Protection Act (“WCPA”), WASH. REV.

  CODE. § 19.86.010, et seq. (ECF No. 255 ¶¶ 851–57.)

         Defendants contend Plaintiffs’ WCPA claim should be dismissed because indirect

  purchasers lack standing to sue under the statute. (ECF No. 263-1 at 21.) Washington courts have

  indeed held the statute precludes claims from indirect purchasers. Blewett v. Abbott Labs., 86

  Wash. App. 782, 790 (1997) (“[An] indirect purchaser has not suffered cognizable injury under

  the [W]CPA.”); see also Blaylock v. First Am. Title Ins. Co., 2008 WL 8741396, at *9 (W.D.

  Wash. Nov. 7, 2008) (“The [W]CPA has consistently been interpreted to favor direct victims of

  unlawful practices and exclude indirect victims.”)

         Plaintiffs do not contest Defendants’ interpretation of the statute and simply reiterate their



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    See Prado v. Allstate Tex. Lloyd’s, 2016 WL 9414132 (W.D. Tex. Nov. 16, 2016) (finding that,
  under Shady Grove, state-law mediation requirements do not apply in diversity action, because 28
  U.S.C. § 652 and Fed. R. Civ. P. 16 govern dispute resolution); Essex Ins. Co. v. Levy Props., Inc.,
  2013 WL 12122119, at *1 (N.D. Tex. May 7, 2013) (“[T]he procedure to mediate pursuant to
  [Texas Insurance Code] section 541.161 is more procedural in nature than substantive and conflicts
  with the Federal Rules of Civil Procedure which allow for a court to manage cases and order
  mediation of a case as determined by the Court.”).
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  assertion that they are not indirect purchases. (ECF No. 269 at 19 n.22.) Because this Court has

  already found Plaintiffs are indirect purchasers, Defendants’ Partial Motion to Dismiss Count

  Forty-Seven (Washington) of the Second Amended Complaint is GRANTED.

                 ix.       West Virginia

            Plaintiffs bring Count Forty-Eight of the Second Amended Complaint, against all

  Defendants, pursuant to The West Virginia Consumer Credit and Protection Act (“WVCCPA”),

  W. VA. CODE §§ 46A-6-101, et seq. (ECF No. 255 ¶¶ 858–69.) Defendants contend Plaintiffs’

  WVCCPA claim should be dismissed because the statute “does not apply to cases involving the

  purchase of prescription drugs.” (ECF No. 263-1 at 22.)

            In White v. Wyeth, the Supreme Court of Appeals of West Virginia held that “the private

  cause of action afforded consumers under [WVCCPA] does not extend to prescription drug

  purchases.” 705 S.E.2d 828, 838 (W. Va. 2010). Likewise, in In re Generic Pharmaceuticals

  Pricing Antitrust Litigation, the district court dismissed, on the same grounds, plaintiffs’

  WVCCPA claims in a case involving allegations of an “unlawful scheme or schemes to fix,

  maintain and stabilize prices.” 368 F. Supp. 3d 814, 820, 849 (E.D. Pa. 2019) (citing White, 705

  S.E.2d at 838).

            Plaintiffs attempt to distinguish their case from White by arguing that White did not address

  claims relating to prescription drug pricing. (ECF No. 269 at 34–35.) Plaintiff does not attempt to

  distinguish In re Generic Pharmaceuticals on the merits. Rather, Plaintiffs argue that because the

  court “applied White without analysis” and “did not address the distinction between pricing and

  drug safety as it relates to White,” the case does not support Defendants’ argument. (ECF No. 269

  at 36.)

            Plaintiffs’ assertions are unconvincing and do not offer this Court sufficient rationale to



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  depart from the rationale of White and In re Generic Pharmaceuticals. Accordingly, Defendants’

  Partial Motion to Dismiss Count Forty-Eight (West Virginia) of the Second Amended Complaint

  is GRANTED.

            IV.    CONCLUSION

            For the reasons set forth above, Defendants’ Partial Motion to Dismiss the New Insulin

  Claims is DENIED; Defendants’ Partial Motion to Dismiss the RICO Claims is GRANTED;

  Defendants’ Partial Motion to Dismiss state consumer protection law causes of action is

  GRANTED with respect to Arizona (Count Six), Georgia (Count Fifteen), Mississippi (Count

  Twenty-Eight), Washington (Count Forty-Seven), and West Virginia (Count Forty-Eight) and

  DENIED with respect to Colorado (Count Ten) and Utah (Count Forty-Five); Defendants’ Partial

  Motion to Dismiss is GRANTED to the extent Plaintiffs seek disgorgement and restitution with

  respect to California (Count Nine); Defendants’ Partial Motion to Dismiss is GRANTED to the

  extent Plaintiffs seek injunctive relief with respect to Louisiana (County Twenty-One); and

  Defendants’ Partial Motion to Dismiss is GRANTED to the extent Plaintiff’s seek an award of

  monetary damages with respect to Minnesota (Count Twenty-Seven). An accompanying order will

  follow.




  Date: February 20, 2020                              _s/ Brian R. Martinotti      ______
                                                       HON. BRIAN R. MARTINOTTI
                                                       UNITED STATES DISTRICT JUDGE




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